  Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 1 of 10 PageID: 1




                       UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY
 ************************************************X
 HUNTLEY C. DUNSTAN,                               Civil Action No. ___________

                                 Plaintiff,
                                                                    COMPLAINT AND JURY DEMAND
                   - against –

 TIME DEFINITE SERVICES, INC., MALCUM
 WASHINGTON, NY MACHINERY INC. and ERNESTO
 CASTRO,

                                 Defendants.

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        Plaintiff, HUNTLEY C. DUNSTAN, by and through his attorneys, THE SALVO LAW

 FIRM P.C, respectfully alleges as follows:

                                  PRELIMINARY STATEMENT

        1.      This is a civil action arising from a motor vehicle accident involving three (3)

 motor vehicles.

                                   JURISDICTION AND VENUE

        2.      Jurisdiction is founded upon 28 U.S.C. § 1332, based upon diversity of citizenship

   and the amount in controversy exceeds $75,000.00.

        3.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).

                                               PARTIES

        4.      At the times herein mentioned, Plaintiff, HUNTLEY C. DUNSTAN, was and

still is a resident of the County of Kings and State of New York.

                                                  1
  Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 2 of 10 PageID: 2




        5.      At the times herein mentioned, Defendant, TIME DEFINITE SERVICES,

INC., is a domestic corporation duly organized and existing pursuant to the laws of the State of

Illinois and maintained a place of business at 1360 Madeline Lane, Suite 300, Elgin, IL 60124.

        6.      At the times herein mentioned, Defendant, TIME DEFINITE SERVICES,

 INC., is a professional corporation duly organized and existing pursuant to the laws of the State

 of Illinois and maintained a place of business at 1360 Madeline Lane, Suite 300, Elgin, IL 60124.

        7.      At the times herein mentioned, Defendant, TIME DEFINITE SERVICES, INC.

 is a foreign corporation duly authorized and qualified to conduct business in the State of Illinois,

 and maintained a place of business at 1360 Madeline Lane, Suite 300, Elgin, IL 60124.

        8.      That at all times herein mentioned, Defendant, TIME DEFINITE SERVICES,

 INC., is a foreign corporation neither authorized nor qualified to conduct business in the State of

 Illinois, and maintained a place of business at 1360 Madeline Lane, Suite 300, Elgin, IL 60124.

        9.      That at all times hereinafter mentioned, Defendant TIME DEFINITE

 SERVICES, INC., was and still is a limited liability company organized and existing under and

 by the virtue of the laws of the State of Illinois and maintained a place of business at 1360

 Madeline Lane, Suite 300, Elgin, IL 60124.

        10.     That at all times hereinafter mentioned, Defendant, TIME DEFINITE

 SERVICES, INC., was and still is a partnership duly organized and existing under and by the

 virtue of the laws of the State of Illinois and maintained a place of business at 1360 Madeline

 Lane, Suite 300, Elgin, IL 60124.

        11.     That at all times hereinafter mentioned, Defendant, TIME DEFINITE

 SERVICES, INC., was and still is a sole proprietorship duly organized and existing under and


                                                  2
  Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 3 of 10 PageID: 3




 by virtue of the laws of the State of Illinois and maintained a place of business at 1360 Madeline

 Lane, Suite 300, Elgin, IL 60124.

          12.   At the times herein mentioned, Defendant, MALCUM WASHINGTON, was

and still is a resident of the County of Providence and State of Rhode Island.

          13.   At the times herein mentioned, Defendant, NY MACHINERY INC., is a

domestic corporation duly organized and existing pursuant to the laws of the State of New Jersey

and maintained a place of business at 609 Chancellor Avenue, Irvington, New Jersey 07111.

          14.   At the times herein mentioned, Defendant, NY MACHINERY INC., is a

 professional corporation duly organized and existing pursuant to the laws of the State of New

 Jersey and maintained a place of business at 609 Chancellor Avenue, Irvington, New Jersey

 07111.

          15.   At the times herein mentioned, Defendant, NY MACHINERY INC., is a foreign

 corporation duly authorized and qualified to conduct business in the State of New Jersey, and

 maintained a place of business at 609 Chancellor Avenue, Irvington, New Jersey 07111.

          16.   That at all times herein mentioned, Defendant, NY MACHINERY INC., is a

 foreign corporation neither authorized nor qualified to conduct business in the State of New

 Jersey, and maintained a place of business at 609 Chancellor Avenue, Irvington, New Jersey

 07111.

          17.   That at all times hereinafter mentioned, Defendant, NY MACHINERY INC.,

 was and still is a limited liability company organized and existing under and by the virtue of the

 laws of the State of New Jersey and maintained a place of business at 609 Chancellor Avenue,

 Irvington, New Jersey 07111.



                                                  3
 Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 4 of 10 PageID: 4




       18.     That at all times hereinafter mentioned, Defendant, NY MACHINERY INC.,

was and still is a partnership duly organized and existing under and by the virtue of the laws of

the State of New Jersey and maintained a place of business at 609 Chancellor Avenue, Irvington,

New Jersey 07111.

       19.     That at all times hereinafter mentioned, Defendant, NY MACHINERY INC.,

was and still is a sole proprietorship duly organized and existing under and by virtue of the laws

of the State of New Jersey and maintained a place of business at 609 Chancellor Avenue,

Irvington, New Jersey 07111.

       20.     At the times herein mentioned, Defendant, ERNESTO CASTRO, was and still is

a resident of the County of Baltimore and State of Maryland.

       21.     Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was owned by Defendant, TIME

DEFINITE SERVICES, INC.

       22.     Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was operated by defendant,

MALCUM WASHINGTON with the knowledge, permission and consent of the owner, TIME

DEFINITE SERVICES, INC.

       23.     Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was maintained by defendant,

MALCUM WASHINGTON.

       24.     Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was maintained by defendant, TIME

DEFINITE SERVICES, INC.
                                                 4
Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 5 of 10 PageID: 5




       25.   Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was controlled by defendant,

MALCUM WASHINGTON.

       26.   Upon information and belief, that at all the times hereinafter mentioned, a 2017

VOLVO TRACTOR bearing license plate number P754482 was controlled by defendant, TIME

DEFINITE SERVICES, INC.

       27.   Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was owned by Defendant, NY MACHINERY

INC.

       28.   Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was operated by defendant, ERNESTO

CASTRO with the knowledge, permission and consent of the owner, NY MACHINERY INC.

       29.   Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was maintained by defendant, ERNESTO

CASTRO.

       30.   Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was maintained by defendant, NY

MACHINERY INC.

       31.   Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was controlled by defendant, ERNESTO

CASTRO.




                                              5
 Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 6 of 10 PageID: 6




       32.     Upon information and belief, that at all the times hereinafter mentioned, a 2002 ISU

FREIGHT bearing license plate number XR517C was controlled by defendant, NY

MACHINERY INC.

                             FACTUAL ALLEGATIONS/THE ACCIDENT

       33.     That at all the times hereinafter mentioned, the automobile collision occurred on

the date described below, in the State of New Jersey, in the location described below, on a public

highway much used and traveled by the general public:

       DATE & TIME:            Saturday, November 24, 2018 at approximately 6:20 am

       LOCATION:           Westbound on the New Jersey Turnpike, PA extension in Florence
                           Township, Burlington County, State of New Jersey.
       34.     That the motor vehicle collision occurred while Plaintiff, HUNTLEY C.

DUNSTAN, was the operator of a 2016 CHEVY CRUZ with the knowledge, permission and

consent of the owner, Kevin Franklin, and was in collision with the VOLVO TRACTOR bearing

license plate number P754482 and the TRUCK bearing license plate number XR517C due to the

negligence of the Defendants and/or each of them, causing the Plaintiff to sustain severe and

serious personal injuries.

       35.     That the VOLVO TRUCK bearing license plate number P754482 suddenly and

without warning made an illegal U-turn from the Westbound lane crossing over to the Eastbound

lane causing the TRUCK bearing license plate number XR517C to come into contact with each

other’s trucks and subsequently causing the truck bearing license plate number XR517C to cut off

the motor vehicle of the Plaintiff and striking Plaintiff’s motor vehicle.




                                                  6
 Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 7 of 10 PageID: 7




                                    COUNT ONE
                            NEGLIGENCE (against all Defendants)

        36.     Plaintiff repeats and realleges each and every paragraph of this Complaint as if fully

set forth herein.

        37.     The Defendants and/or each of them were negligent for making an improper U-turn

and/or following too close; in failing to have their respective motor vehicles in proper condition

and repair; in failing to observe the road and more particularly the Plaintiff(s); in failing to keep a

proper and adequate look out; in being inattentive; in proceeding at an excessive, dangerous and

unlawful rate of speed under the circumstances then and there existing; in driving carelessly; in

failing to give the Plaintiff any signal or warning of their approach; in failing to keep and maintain

a safe and proper distance between his motor vehicle and other vehicles on the public highway; in

failing to make proper use of steering mechanism; in failing to make proper use of braking

mechanism; in failing to stop in time to avoid this occurrence; in failing to obey traffic signals,

controls and regulations; in failing to yield the right of way; in failing to have the motor vehicle

under proper management and control; and in general the said Defendants and/or each of them

were otherwise careless, negligent, imprudent and hazardous in the respective ownership,

operation, management and control of his (their) motor vehicle(s).

        38.     That the aforesaid accident and resulting injuries to the Plaintiff was caused wholly

and solely by reason of the negligence of the Defendants and/or each of them as aforesaid, and

without any negligence on the part of the Plaintiff contributing in any thereto.

        39.     That solely by reason of the foregoing and by reason of the negligence of the

Defendants and/or each of them as aforesaid, the Plaintiff herein was severely and seriously

injured, bruised, and wounded, suffered and still suffers and, upon information and belief, will

                                                  7
 Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 8 of 10 PageID: 8




continue to suffer for some time to come great physical and mental pain and great bodily injury;

became sick, sore, lame and disabled; he required medical aid and attention, and upon information

and belief, will, in the future, require and be caused to spend diverse and large sums of money in

an attempt to cure him of said injuries, for medical aid and attention, and upon information and

belief, will in the future, be incapacitated from attending to his employment and vocation, and

upon information and belief, the Plaintiff has been permanently injured.

       WHEREFORE, Plaintiff demands judgment as against the Defendants in all causes of

actions in the sum of sufficient to adequately compensate Plaintiff; together with the costs and

disbursements of this action and for any and such other relied as the Court may deem in just and

proper under the circumstances.

Dated: December 2, 2019

                                  DEMAND FOR JURY TRIAL

       Plaintiff Huntley C. Dunstan hereby demands a trial by jury on all issues so triable.

Dated: December 2, 2019
                                             THE SALVO LAW FIRM, PC

                                             By: /s/ Cindy D. Salvo
                                                CINDY D. SALVO

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                                             West Caldwell, New Jersey 07006
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                                             csalvo@salvolawfirm.com

                                             Attorneys for Plaintiff,
                                             Huntley C. Dunstan



                                                8
Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 9 of 10 PageID: 9




                                     9
Case 2:19-cv-20912-JMV-JBC Document 1 Filed 12/02/19 Page 10 of 10 PageID: 10




                                     10
